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                             Exhibit 4
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Overview

Jordan Connors is a commercial litigator with a nationwide practice litigating cases in both state and
federal court. Mr. Connors has successfully represented plaintiffs and defendants in a wide variety of high-
stakes commercial cases, including patent infringement, antitrust, bankruptcy, class action, trusts and
estates, securities fraud, and false advertising matters. Law & Politics Magazine, published by Thomson
Reuters, has named Mr. Connors a “Rising Star” every year since 2013; an honor bestowed on 2.5
percent of attorneys in the state of Washington for “demonstrated excellence in the practice of law.”




Education
Stanford University (B.A., Public Policy, 2003)
Columbia Law School (J.D., 2008)




Judicial Clerkship

Law Clerk to The Honorable Vaughn R. Walker, Chief Judge of the U.S. District Court for the Northern
District of California (2008-2009)




Honors and Distinctions
Whitney North Seymour Medal for Columbia Law student who shows greatest promise of becoming a
distinguished trial advocate (2007)
Senior Editor, Columbia Law Review (2007-2008)
Harlan Fiske Stone Moot Court Finalist (2008)
Harlan Fiske Stone Scholar (2005-2006, 2006-2007, 2007-2008)
Ann C. Seminara Award in Public Policy (2003)




Articles
“Treating Like Subdecisions Alike: The Scope of Stare Decisis as Applied to Judicial Methodology,”
108Colum. L. Rev. 681 (2008)
“Of All the Arms, of All the Men, of All the Teams That Play,” Seattle Times, July 24, 2009



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Professional Associations and Memberships
Washington State Bar
Federal Bar Association for the Western District of Washington
U.S. District Court for the Eastern District of Texas
U.S. Court of Appeals for the Federal Circuit




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